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Notice

 

Notice to Court Clerk:

Title LXX.---CRIMES.---CH. 4. CRIMES AGAINST JUSTICE (Destroying, &c., public
records.)SEC. 5403. Every person who willfully destroys or attempts to destroy, or, with intent
to steal or destroy, takes and carries away any record, paper, or proceeding of a court of justice,
filed or deposited with any clerk or officer of such court, or any paper, or document, or record
filed or deposited in any public office, or with any judicial or public officer, shall, without
reference to the value of the record, paper, document, or proceeding so taken, pay a fine of not

more than two thousand dollars, or suffer imprisonment, at hard labor, not more than three
years, or both: [See § § 5408,5411,5412.1]

Title LXX.---CRIMES.---CH. 4. CRIMES AGAINST JUSTICE (Conspiracy to defeat enforcement
of the laws.) SEC. 5407.If two or more persons in any State or Territory conspire for the purpose
of impeding, hindering, obstructing, or defeating, in any manner, the due course of justice in
any State or Territory, with intent to deny to any citizen the equal protection of the laws, or to
injure him or his property for lawfully enforcing, or attempting to enforce, the right of any
person, or class of persons, to the equal protection of the laws, each of such persons shall be
punished by a fine of not less than five hundred nor more than five thousand dollars, or by
imprisonment, with or without hard labor, not less than six months nor more than six years, or
by both such fine and imprisonment. See § § 1977-1991, 20042010, 5506-5510.1

Title LXX.---CRIMES.---CH. 4. CRIMES AGAINST JUSTICE (Destroying record by officer in
charge.) SEC.5408. Every officer, having the custody of any record, document, paper, or
proceeding specified in section fifty-four hundred and three, who fraudulently takes away, or
withdraws, or destroys any such record, document, paper, or proceeding filed in his office or
deposited with him or in his custody, shall pay a fine of not more than two thousand dollars, or
suffer imprisonment at hard labor not more than three years, or both-, and shall, moreover,
forfeit his office and be forever afterward disqualified from holding any office under the
Government of the United States.

Title 18 USC 2071:

(a) Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or destroys,
or attempts to do so, or, with intent to do so takes and carries away any record,
proceeding, map, book, paper, document, or other thing, filed or deposited with any clerk
or officer of any court of the United States, or in any public office, or with any judicial or
public officer of the United States, shall be fined under this title or imprisoned not more
than three years, or both.

(b) Whoever, having the custody of any such record, proceeding, map, book, document,
paper, or other thing, willfully and unlawfully conceals, removes, mutilates, obliterates,
falsifies, or destroys the same, shall be fined under this title or imprisoned not more
than three years, or both; and shall forfeit his office and be disqualified from holding any
office under the United States. As used in this subsection, the term “office” does not
include the office held by any person as a retired officer of the Armed Forces of the
United States.
